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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                          )
BOSTON EXECUTIVE SEARCH ASSOCIATES, INC., )
                                          )
                    Plaintiff,            )
          v.                              ) C.A. No. 19-CV-12378 (RGS)
                                          )
FRESHFIELDS BRUCKHAUS DERINGER US LLP,    )
                                          )
                    Defendant.            )
                                          )


           VOLUNTARY STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), all parties herein stipulate that this action be

dismissed with prejudice. Each party will bear its own costs and attorneys’ fees.

Dated: October 9, 2020                       Respectfully submitted,


/s/ Douglas W. Salvesen                     /s/ Joseph F. Savage, Jr.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the NEF (NEF) and paper copies will
be sent to those indicated as non registered participants on October 9, 2020.

                                      /s/ Douglas W. Salvesen

                                      Douglas W. Salvesen

Dated: October 9, 2020




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